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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           TERRE HAUTE DIVISION

  BENJAMIN KING,                       )
                                       )
                         Plaintiff,    )
                                       )
        vs.                            )   Case No.: 2:14-cv-0070-WTL-DKL
                                       )
  DEPAUW UNIVERSITY,                   )
                                       )
                         Defendant.    )




                  DEPAUW’S BRIEF IN SUPPORT OF ITS MOTION
                     FOR PARTIAL SUMMARY JUDGMENT
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                       DEPAUW’S BRIEF IN SUPPORT OF ITS MOTION
                          FOR PARTIAL SUMMARY JUDGMENT

         DePauw University (“DePauw”) has moved the Court to enter summary judgment in its

  favor on Counts I and II, and V – VII of Plaintiff’s Complaint.1 DePauw submits this brief in

  support of its Motion.

                                          INTRODUCTION

         Plaintiff Benjamin King (“King”) was suspended from DePauw after he was found

  responsible for violating DePauw’s Sexual Misconduct Policy. Specifically, King was found

  responsible for non-consensual sexual contact and sexual harassment stemming from an

  encounter with a female student, J.B., in December, 2013. After an investigation and hearing,

  King was initially expelled from DePauw. King appealed and the sanction was reduced to a two-

  semester suspension. King filed suit, seeking preliminary and permanent injunctive relief and

  damages. As a result of this Court’s August 22, 2014 Order (“August 22 Order”), King is

  currently enrolled as a full time student without restriction.

         King’s Complaint contains seven Counts. Counts I and II allege violations of Title IX of

  the Education Amendments Act of 1972, 20 U.S.C. §1681-88 (“Title IX”). Those two federal

  claims are accompanied by state law claims for breach of contract, promissory estoppel,

  negligence, intentional infliction of emotional distress and defamation. King generally alleges

  that he was falsely accused of sexual assault by J.B. and found responsible for conduct he

  contends was consensual by a process that was biased against him on account of his gender.




  1
    On September 2, 2014 Plaintiff sought leave to amend his Complaint. [Dkt. No. 62] That Motion
  remains pending. The Amended Complaint and the Original Complaint are not materially different as to
  DePauw. Accordingly, DePauw seeks summary judgment as to Counts I-II and V-VII of the Amended
  Complaint should the Court grant Plaintiff’s Motion.

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  DePauw seeks summary judgment on King’s claims for Title IX violations, promissory estoppel,

  intentional infliction of emotional distress, and defamation.2

         The touchstone question under Title IX is whether DePauw’s handling of the charges

  discriminated against King on the basis of his gender. Once it knew J.B. wanted DePauw to

  pursue an investigation, DePauw investigated the charge of sexual misconduct made by J.B.;

  determined that formal charges were warranted; recommended qualified advisors to assist each

  party; held a hearing conducted by three experienced staff members; resolved conflicting

  testimony; issued a decision; processed an appeal; and issued a modified decision after appeal.

  The undisputed evidence shows that DePauw followed its written policies in handling the

  allegations against King and that its policy, investigation, hearing, and sanction were not tainted

  by gender bias—thus King’s Title IX claims must fail as a matter of law.

         This Court is not legally permitted to retry DePauw’s disciplinary proceeding or make a

  factual determination as to what happened between King and J.B. Instead, the Court should

  determine whether DePauw’s actions in the investigation and processing of J.B.’s allegation

  against King complied with Title IX and DePauw’s written disciplinary policies.

         King’s claims for promissory estoppel, intentional infliction of emotional distress, and

  defamation are unsupported by the allegations in King’s Complaint and must likewise fail as a

  matter of law.




  2
    DePauw does not concede that it violated any contract with King or acted negligently in handling the
  allegations against King, but does not seek summary judgment on those counts of King’s Complaint.

                                                    2
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                              STATEMENT OF UNDISPUTED FACTS3

      A. DePauw’s Sexual Misconduct Policy.

          DePauw sets out expectations for student behavior in its Student Handbook.                    The

  Handbook outlines conduct which can trigger DePauw’s disciplinary process known as the

  “Community Standards Process” which includes DePauw’s “Sexual Misconduct Policy.” (The

  “Sexual Misconduct Policy” or “Policy,” Ex. A.)4

          The Policy defines sexual misconduct broadly and addresses misconduct by community

  members of either gender.        (Ex. A at 36.) For example, the term “non-consensual sexual

  contact” refers to “[p]hysical contact of a sexual nature by one person against the will of or

  without the consent of another.” (Id.) Where the Policy makes reference to individuals through

  the use of personal pronouns, it employs gender-neutral alternatives. For example, the definition

  of the term “rape” includes the phrase: “or takes advantage of him/her while he/she is

  incapacitated.” (Id.) The Policy devotes nearly a page to the discussion of the term “consent,” in

  recognition of the fact that the majority of sexual misconduct complaints involve the question of

  whether the complainant consented to the conduct at issue. (Id.) In part, the Policy states:

          Incapacitation is an important and specific concept. A person who is
          incapacitated is incapable of recognizing what is going on around him/her. An
          incapacitated person is not able to recognize the sexual nature or extent of the
          situation he/she is in. To engage in sexual activity with a person one knows or
          should know is incapacitated is a violation of this policy.

  (Ex. A at 37 (emphasis added).)




  3
    Many of the facts outlined here were incorporated in the Court’s August 22 Order. [Dkt. 60] DePauw
  restates them here and cites to the evidence submitted at the hearing.
  4
    For ease of the reader, DePauw will provide the full name of an exhibit the first time it cites it and
  thereafter will refer to it by its label. Contemporaneously with this filing, DePauw is providing a chart
  laying out all the exhibits as well as parallel citations to those exhibits that are already in the record.

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          If a report of sexual misconduct is made with or referred to the DePauw Public Safety

  Office, it is considered a formal complaint and will be investigated as such. (Ex. A at 34.)

  Complaints proceed to hearing if the investigation reveals sufficient information to make a

  formal charge of misconduct. (Ex. A at 38.) If a student charged with sexual misconduct

  contests the charges, complaints of sexual misconduct are heard by a panel of three members (the

  “Panel”) of a seven member Sexual Misconduct Hearing Board (the “Board”). (Id.) The

  members of the Board receive periodic training by outside consultants to assist them in their

  roles. (Ex. B, Babington Aff. ¶14, Ex. A at 38.)

      B. The Complaint.

          On December 8, 2013, J.B. confidentially reported that she thought that King sexually

  assaulted her at a party occurring late December 6 and early December 7, 2013. (Ex. C, Sara

  Ryan Report.)     As acknowledged in the Court’s August 22 Order, “the facts surrounding

  DePauw’s handling of the complaint are largely undisputed.” [Dkt. 60, at 1] J.B. alleged that

  she attended a party at King’s fraternity, consumed alcohol, and woke up nude in King’s bed.

  (Ex. C.) J.B. could not remember how she got there and denied having consented to any sexual

  activity.   (Ex. C.) J.B. went to the hospital for an examination by a sexual assault nurse

  examiner (“SANE”) on December 7, 2013. (Ex. C.) The SANE told J.B. that she observed

  vaginal tearing. (Ex. C; Ex. D, excerpt from J.B. SANE Report.) At the time DePauw received

  the confidential report on December 8, J.B. was not sure whether she wanted DePauw to

  undertake an investigation. (Ex. C., Ex. B ¶7.) This is typical for these types of matters. (Ex. B

  ¶8.) DePauw’s Title IX Coordinator and Dean of Campus Life, Dorian Shager, interviewed

  King on December 18, 2013, to obtain his side of the story. (Ex. B ¶9, Ex. E, Shager Notes of

  December 18, 2013 meeting.)



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         DePauw recessed for winter break from December 20, 2013 through January 6, 2014.

  (Ex. B ¶10.) From January 6, 2014 through January 22, 2014, DePauw conducted its Extended

  Studies (formerly Winter Term) session. (Id.)

         On January 22, 2014, J.B. told DePauw that she wanted an investigation and would file a

  formal report with the Office of Public Safety. (Ex. B ¶11.) Charlene P. Shrewsbury, a captain

  with DePauw’s Public Safety Department, interviewed J.B. at that time. (Ex. B ¶11, Ex. F,

  Shrewsbury Aff. ¶5.) Captain Shrewsbury is a sworn police officer in the State of Indiana.

  (Ex. F ¶2.)    That same day, per DePauw policy, Captain Shrewsbury issued “no contact”

  instructions to Plaintiff and to J.B. instructing that they were to avoid all contact with each other.

  (Ex. F ¶5.)

      C. The Investigation.

         DePauw then initiated its formal investigation.         As part of the investigation, J.B.

  submitted a written statement. (Ex. G, Witness Statements at 1 - 7.) Captain Shrewsbury asked

  King to come in for an interview. (Ex. B ¶12, Ex. F ¶6.) Because DePauw has an agreement

  with the Putnam County Prosecutor that it will forward the results of its investigations of sexual

  misconduct for review, Captain Shrewsbury, a sworn police officer, began the interview by

  advising King of his Miranda rights and informing him that the interview would be videotaped.

  (Ex. B ¶12, Ex. F ¶6.) Plaintiff declined to be interviewed and did not otherwise provide any

  information or identify potential witnesses to Captain Shrewsbury. (Ex. F ¶6, Ex. B ¶12.) As a

  result, Mr. Shager submitted a summary of his December 18, 2013 interview of King, which

  King reviewed, to the investigation file.5 (Ex. B. ¶9, Ex. E.; Ex. H., Shager Notes of all King

  meetings.)

  5
   The Hearing Panel did not receive Mr. Shager’s summary of his three subsequent meetings with
  Mr. King. (Ex. H.)

                                                    5
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         In addition to J.B. and her attempted interview of King, Captain Shrewsbury interviewed

  seven DePauw students, five of whom were identified by J.B. and two who were identified by

  the Chair of the Panel. (Ex. F ¶7, Exs. G & I, Shrewsbury interview notes.) Shrewsbury’s

  investigation revealed that several witnesses described J.B. as visibly intoxicated. (Ex. G at 9 –

  11, 13, Ex. I at 5, 9, 12.) They stated that she had moved as if she did not have complete control

  over her limbs, fallen in the fraternity, rolled around in the snow while giggling, and discussed

  taboo topics. (Ex. G at 9 – 11, 13, Ex. I at Ex. I at 5, 9, 12.) Per his interview with Mr. Shager,

  King admitted to sexual contact with J.B., including “fingering” her. (Exs. E, H.) King had also

  indicated to J.B. via text message on December 7 that the pair had “laid down and tried having

  sex.” (Ex. J, King Text Messages.) DePauw’s Assistant Dean of Student Life, Cara Setchell,

  determined that this information, if believed by a hearing Panel, would support charges of

  nonconsensual sexual contract and sexual harassment against King. (Ex. K, B. King Dep. at 147,

  149-150.) On that basis, DePauw notified King by letter dated February 12, 2014 that it was

  charging him with nonconsensual sexual contact and sexual harassment. (Ex. B ¶13, Ex. L, Feb.

  12, 2014 Letter.)

     D. The Hearing and the Panel’s Decision.

         DePauw’s Policy allows students to use advisors to assist them through the hearing

  process. (Ex. A at 38.) Students may also consult with counsel, but lawyers are not permitted in

  the hearing room itself. (Id.) Advisors are allowed to attend the hearing, but are not permitted to

  examine witnesses. (Id.) DePauw offers the names of advisors to students participating in

  sexual misconduct hearings. (Ex. B ¶15, Ex. K at 125.) Students can either use an advisor

  identified by DePauw or use an advisor of their own choosing. (Ex. B ¶15.) King was offered

  the names of two potential advisors, one of whom, J.C. Lopez, was a member of the Board not



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  sitting on the Panel. (Ex. B ¶15.) King never bothered to talk to either of these recommended

  advisors.   (Ex. M, Preliminary Injunction Hearing Transcript at 209-10, Ex. K at 125-26.)

  Instead, King first decided to use a student friend, and at the last minute used a friend of his

  father, Dr. William Tobin, DePauw’s Director of Institutional Research, who had no training in

  sexual misconduct matters. (Ex. M at 136.)

         Once a hearing is scheduled, it can be delayed upon a “strong showing of substantial need

  of such a continuance in order to maintain the fairness and integrity of the process” or if the

  Chair of the Panel determines that a situation exists that requires a continuance. (Ex. A at 39.)

  The hearing was originally scheduled for February 20, 2014. (Ex. B ¶15.) King asked for a

  seven-day continuance which was denied but the hearing date was ultimately moved to February

  24, 2014 to permit King’s advisor to attend and to allow for additional witness interviews

  requested by the Panel. (Ex. B ¶15, Ex. M at 209.) Five witnesses, in addition to J.B. and King

  testified. (Ex. N, transcript of Feb. 24, 2014 hearing.) The Panel also received the SANE report,

  reports prepared by Captain Shrewsbury and Mr. Shager, and written statements prepared by

  each witness. (Ex. B ¶16, Ex. O, at 16 King’s Appeal to DePauw.) The Panel found King

  responsible for violating DePauw’s Sexual Misconduct Policy and expelled him. (Ex. P, Panel

  Finding and Supplementary Notes.)6

         Because King admitted to sexual activity, the Panel focused on whether J.B. “had given

  or was in a state to give consent” and whether King should have “known if she was in a state to

  not give consent.” (Ex. P.) The Panel had evidence that J.B. had consumed at least nine shots of

  liquor on December 6, 2013 and determined that J.B. was extremely intoxicated. (Ex. G; Ex. I.)


  6
    King did not submit any questions in advance of the hearing, did not request that a single question be
  asked of any witness during the hearing and called just one witness who saw J.B. from a distance the
  morning after. (Ex. N.)

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  Based on her behaviors, as described by witnesses, the Panel determined, “it should have been

  apparent to [King] that [J.B.] was extremely intoxicated, to the point that she could not give

  consent to any sexual activity.” (Ex. P.)

      E. The Appeal.

         Students may appeal any finding, conclusion, or sanction imposed by the Panel with the

  Vice President for Student Life. (Ex. A at 39.) An appeal may be based on new evidence,

  procedural error, or appropriateness of the sanction. (Ex. A at 40.) The Vice President may

  1) affirm the action taken by the Panel; 2) reverse the Panel’s findings of facts and/or

  responsibility and refer the case back to the Board for another hearing; 3) reverse the Panel’s

  determination of facts and/or responsibility and vacate any sanction; or 4) impose different

  sanctions. (Id.)

         King’s current counsel appealed the Panel’s determination to Cindy Babington.7 King

  asked for and received a one-week extension to file his appeal, and then asked for a second

  week’s extension which Babington denied.           (Ex. B ¶17, Ex. O.)      King’s appeal attacked

  DePauw’s entire process by arguing that:

             a. DePauw’s investigation was not prompt and the delay prejudiced his rights
                (Ex. Q, Babington’s Decision at 1; Ex. O at 3-4);

             b. DePauw’s investigation was not sufficiently thorough (Ex. Q at 2; Ex. O at 5-10);

             c. the Panel’s hearing was not sufficiently thorough and the Panel improperly
                resolved inconsistent testimony (Ex. Q at 3; Ex. O at 5-18);

             d. the investigation and hearing process lacked impartiality (Ex. Q at 3; Ex. O at 10-
                19);



  7
   Ms. Babington served as Vice President for Student Life and Dean of Students for 16 years. (Ex. M, at
  14.) She was transferred to the position of Vice President for Admission and Financial Aid on July 1,
  2014. (Id.)

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              e. King was prejudiced by the denial of an opportunity to submit an impact
                 statement to the Panel (Ex. Q at 4; Ex. O at 2); and

              f. The sanction of expulsion was excessive. (Ex. Q at 4; Ex. O at 20-23).

          On March 13, 2014, Babington issued her decision. (Ex. B ¶17, Ex. Q.) Babington

  affirmed the Panel’s finding of responsibility, but reduced the sanction from expulsion to

  suspension for the Spring and Fall 2014 semesters, because she did not think the evidence

  showed that King’s conduct was predatory. (Ex. B ¶17, Ex. Q.) Babington addressed each of

  King’s arguments:       Because the events took place just prior to Christmas break, which is

  followed by the Extended Studies session, and J.B.’s uncertainty, some delay was unavoidable.

  (Ex. Q.) Any prejudice occasioned by any delay applied equally to King and J.B. (Id. at 1-2.)

  As to King’s complaint about the scope of the investigation, it was unclear that more interviews

  would have altered the Panel’s decision. Additionally, King’s own refusal to participate in the

  investigation by identifying potential witnesses was a limiting factor on the number of people

  interviewed. (Id. at 2.)8

          Babington reviewed the audio of the hearing and decided that the hearing was sufficiently

  thorough, and that it was within the Panel’s purview to resolve inconsistent testimony. (Id. at 3.)

  She further concluded that there was sufficient evidence to support the Panel’s finding of

  responsibility, and that King’s bias allegations were unfounded.                With respect to King’s

  complaint about the expertise of his advisor, Babington noted that despite Student Services’

  referral of a trained member of the Board, not empaneled for his hearing, King chose another

  DePauw staff member who was not a member of the Board. (Id. at 3.)




  8
   Indeed, King testified that he could not identify the individuals he observed socializing with Jillian when
  he entered the basement, and, other than Gates Weaver, could not remember anyone else he saw in the
  basement. (Ex. K at 66, 133.)

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          In response to King’s complaint that he was not permitted to submit an impact statement,

  Babington noted that there was a typographical error in the hearing instructions King was given,

  and that a typographical error in one document did not negate statements in all other documents

  describing the process, including the Student Handbook, which all provide for an impact

  statement by the complainant, but not the respondent. Moreover, King was not denied the

  opportunity to describe the impact to the Panel, as he had the opportunity to do so at the hearing.

  (Id. at 4.)

          Babington disagreed with the hearing Panel’s sanction. She decided that the expulsion

  was based, at least in part, on the finding that King’s conduct had been predatory. Babington

  reviewed evidence related to this assertion and found it insufficient. She thus determined the

  expulsion was unduly severe and reduced it to a two-semester suspension. (Id. at 4.)

          King also complained that the atmosphere on DePauw’s campus was such that he could

  not receive a fair hearing. This unsupported allegation is contrary to the facts. DePauw initiates

  numerous investigations into initial reports of sexual misconduct where the investigation has not

  supported formal charges. (Ex. B ¶19.) Even in those cases where investigation dictates that

  formal charges are appropriate, the hearing board does not always find in favor of the

  complainant.   In the last five (5) academic years, 2009-10 through 2013-14, DePauw has

  formally processed sexual misconduct charges against 12 students. (Ex. B ¶19.) The results of

  those charges are that 10 students were found responsible for at least one charged violation. (Id.)

  Of those students found responsible, 2 were expelled, 4 were suspended, 2 were put on deferred

  suspension, 1 was put on deferred suspension and later suspended, and 1 was put on deferred

  suspension and later expelled. (Id.)




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       F. This Action.

          In his motions for preliminary injunction [Dkts. 22, 51], King alleged that DePauw was

  biased in its investigation and hearing because relatives of J.B. made a substantial financial

  donation to DePauw. Specifically, J.B.’s great uncle, R. David Hoover and his wife Suzanne A.

  Hoover made a significant donation to DePauw and DePauw is naming a new building in honor

  of the Hoovers. (Ex. O at 13, 78.) [Dkt. 51 at 7; Dkt. 54 at 10-11] None of the panel members

  was aware of any relationship prior to their determination and two of them were unaware of

  Mr. Hoover’s donation. (Ex. R, Dillon Aff. ¶4, Ex. S, Sutherlin Aff. ¶4, Ex. T, Hernandez Aff.

  ¶4.) Babington learned of the relationship between the Hoovers and J.B. before deciding the

  appeal, but it did not affect her consideration of the appeal. (Ex. M at 90.) DePauw’s President,

  Brian Casey was deposed on October 30, 2014. His testimony was that he did not communicate

  about this matter to the person who made the decision to charge King and he did not

  communicate about this matter to any member of the hearing panel.9

                                                ARGUMENT

  I.      Legal Standard.

          Summary judgment is appropriate when there is “no genuine issue as to any material fact and

  that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c); Celotex Corp.

  v. Catrett, 477 U.S. 317, 322 (1986). The court’s function is to determine whether there is a genuine

  issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); see Payne v. Pauley, 337

  F.3d 767, 770 (7th Cir. 2003). Disputes concerning material facts are genuine where the conflicting

  evidence is such that a reasonable jury could return a verdict for the non-moving party. Anderson, 477


  9
    A transcript of Dr. Casey’s deposition is not yet available and DePauw is not yet able to provide citation
  to this testimony. DePauw designates this testimony and will supplement the record with the relevant
  pages of Dr. Casey’s deposition transcript on reply.

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  U.S. at 248. In deciding whether genuine issues of material fact exist, the court construes all facts in

  the light most favorable to the non-moving party and draws all reasonable inferences in favor of the

  non-moving party. Heft v. Moore, 351 F.3d 278, 283 (7th Cir. 2003).

          The burden is upon the movant to identify those portions of the “pleadings, depositions,

  answers to interrogatories, and admissions on file, together with the affidavits,” if any, that the movant

  believes to demonstrate an absence of a genuine issue of material fact. Celotex, 477 U.S. at 323.

  Once the movant has met this burden, the non-moving party may not rest upon the pleadings but

  “must set forth specific facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e);

  Becker v. Tenebaum-Hill Assoc., Inc., 914 F.2d 107, 110 (7th Cir. 1990). Because King’s claims are

  “grounded primarily upon the manner in which [DePauw] officials conducted the process leading

  to its conclusion that [King] had violated [DePauw’s Sexual Misconduct Policy] and its

  imposition of sanctions. . . this Court’s review is substantially circumscribed; the law does not

  allow this Court to retry [DePauw’s] disciplinary proceeding.” Doe v. The Univ. of the South,

  687 F. Supp. 2d 744, 755 (E.D. Tenn. 2009). King’s Complaint does not require the Court to

  “make an independent determination” as to what happened between King and J.B., and it does

  not call for a judicial determination in favor or against the merits of J.B.’s sexual misconduct

  charge against King. Id. The question is whether DePauw acted reasonably in light of the

  circumstances.

  II.     King’s Title IX Claims Must Fail Because DePauw’s Actions Were Not Motivated
          by Gender Bias.

          Title IX guarantees that “[n]o person in the United States shall on the basis of sex, be

  excluded from participation in, be denied the benefits of, or be subjected to discrimination under

  any education program or activity receiving Federal financial assistance. 20 U.S.C. § 1681(a).

  Title IX “bars the imposition of university discipline where gender is a motivating factor in the

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  decision to discipline.” Yusuf v. Vassar College, 35 F.3d 709, 714 (Ind. Ct. App. 1994). “Judges

  must be sensitive to the effects on education of heavy-handed administrative intrusion required

  by judges interpreting Title IX and other statutes that, along with free-wheeling interpretations of

  the speech and religion clauses of the First Amendment, have made education one of the most

  heavily regulated American industries.” Doe v. St. Francis Sch. District, 694 F.3d 869, 873 (7th

  Cir. 2012).

          Neither the Supreme Court nor the Seventh Circuit has set forth a standard for a Title IX

  challenge to a disciplinary proceeding, but other courts have looked at these claims through four

  separate standards: erroneous outcome, selective enforcement, archaic assumptions, and

  deliberate indifference. See, e.g., Mallory v. Ohio Univ., 76 Fed. Appx. 634, 638 (6th Cir. 2003).

  King asserts Title IX claims under two theories: erroneous outcome and deliberate indifference.

  The Court has previously concluded that there is no indication that DePauw’s actions were

  motivated by gender bias. [Dkt. 60 at 18-19] Because there is no such evidence, these claims

  fail.

          A.     Erroneous Outcome.

          An erroneous outcome claim “require[s] [King] to demonstrate that the conduct of the

  university in question was motivated by a sexual bias.”         Mallory, 76 Fed. Appx. at 638.

  Specifically, in an erroneous outcome claim, the plaintiff alleges his/her innocence and that he or

  she was wrongly found to have committed an offense based on gender. Yusuf, 35 F.3d 709 at

  715. “Under the erroneous outcome standard, the question is whether [DePauw’s] actions are

  motivated by sexual bias or if the disciplinary process constitutes a pattern of decision-making

  whereby [DePauw’s] disciplinary procedures governing sexual assault claims is discriminatorily

  applied or motivated by a chauvinistic view of the sexes.” Bleiler v. Coll. of the Holy Cross,

  Civil Action No. 11-11541-DJC, 2013 U.S. Dist. LEXIS 127775, at *17 (D. Mass. Aug. 26,
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  2013) (citing Doe, 687 F. Supp. 2d at 756; Mallory, 76 Fed. Appx. at 640); Yusuf, 35 F.3d at 715.

  Stated differently, an erroneous outcome claim requires particular facts that show “some

  articulable doubt on the accuracy of the outcome of the disciplinary proceeding” and “particular

  circumstances suggesting that gender bias was a motivating factor behind the erroneous finding.”

  Yusuf, 35 F.3d at 715.

         As a threshold matter, DePauw’s Policy is facially gender neutral. (Ex. A at 36-37.) In

  Bleiler, the District Court of Massachusetts examined a code of conduct with sexual misconduct

  provisions similar to DePauw’s. 2013 U.S. Dist. LEXIS 127775, at *14. There, the Court found

  that “there was no evidence supporting [the] contention that the Code of Conduct is embedded

  with a gender preference and thus there is no triable issue arising from the Code of Conduct.” Id.

  Similarly, DePauw’s Policy is uniformly applicable to male and female students and requires

  students of either gender to give and receive consent before engaging in any sexual conduct.

         King’s first argument in his preliminary injunction filings is that all sexual misconduct

  claims against DePauw students from 2009 through 2014 were against male students and ten of

  twelve were found responsible. “DePauw is not responsible for the gender makeup of those who

  are accused by other students of sexual misconduct.” [Dkt. 60 at 18 (emphasis in original)] To

  the extent King is arguing that DePauw’s disciplinary procedures have a disparate impact on

  male students, that argument does not support a Title IX claim. See Hayden v. Greensburg

  Community Sch. Corp., 743 F.3d 569, 583 (7th Cir. 2014) (“The discrimination must also be

  intentional in order to support a claim for damages under Title IX.”).

         King’s claim has a “fatal gap” due to “the lack of a particularized allegation relating to a

  causal connection between the [allegedly] flawed outcome and gender bias.” Yusuf 35 F.3d at

  715. Evidence of gender bias such as “statements by members of the disciplinary tribunal,



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  statements by pertinent university officials, or patterns of decision-making that also tend to show

  the influence of gender” are not present here. Id.; see Murray v. N.Y. Univ. Coll. of Dentistry, 57

  F.3d 243, 251 (2d Cir. 1995); Bleiler, 2013 U.S. Dist. LEXIS 127775, at *15; see also Mallory,

  76 Fed. Appx. at 639-40 (upholding summary judgment on a student’s Title IX claim where

  there was no evidence that discipline was based on the student’s sex).

         King follows his statistical argument with complaints about 1) delay in the investigation;

  2) treatment of King during the investigation; 3) quality of the investigation; 4) the timing of the

  hearing; 5) the relationships between staff persons involved; 6) the Panel’s determination; 7) his

  advisor; and 8) not being allowed to submit an impact statement to the Panel. None of these

  complaints evidences gender bias.

  1.     The Investigation Was Prompt Under the Circumstances.

         a) Any Delay Does Not Demonstrate Gender Bias.

         DePauw’s Policy purposefully gives a complainant a confidential reporting option and

  some control over the process, particularly at the beginning. DePauw allowed J.B. six weeks to

  decide whether to file a formal complaint before engaging in an investigation. (Ex. B, at ¶¶7-8.)

  This is not a gender based policy and is dictated by considerations of privacy. See The White

  House Task Force to Protect Students from Sexual Assault, Not Alone, April 2014 pp. 11-12,

  available at http://www.whitehouse.gov/sites/default/files/docs/report_0.pdf (some sexual

  assault victims are not immediately sure they want to make a formal complaint, and the victim’s

  decision should be honored to encourage reporting by maintaining confidentiality); Department

  of Education Violence Against Women Act, 79 Fed. Reg. 35418, 35429 (proposed June 20,

  2014) (to be codified at 34 C.F.R. pt. 668.46(b)(4)(iii)).

         J.B.’s uncertainty and the calendar, not gender bias, caused any delay. J.B.’s initial

  report was made shortly before DePauw’s Christmas break and DePauw’s Extended Studies

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  Session. (Ex. B ¶10.) DePauw’s policy of allowing the complaining student time to decide

  whether he or she wants DePauw to pursue an investigation is designed to give a sense of control

  to the complaining student. The policy does not demonstrate bias and did not prejudice the

  proceedings. As evidenced by the interview summaries, witness statements, and the hearing

  transcript, students who gave testimony about the incident or the surrounding circumstances had

  adequate memory of the night’s events to assist the hearing board in the necessary factual

  determinations. (Exs. N, G & I.) Ultimately, any delay affected King and J.B. equally, barring

  any inference of gender bias as a result of the delay.

         Despite testimony from King’s father, Thomas King, (Ex. M at 134-35) that King was

  given insufficient time to respond to J.B.’s allegations, King was on notice of J.B.’s allegations

  as of December 18, 2013 when he met with Mr. Shager. (Ex. E.) King received a no contact

  directive from Public Safety on January 22 and met with Mr. Shager again on January 29, 2014.

  (Ex. F ¶5 Ex. H.) The fact that King did not tell his parents and ignored the situation until he

  declined the interview by Captain Shrewsbury on January 27 does not indicate that DePauw was

  biased against him. (Ex. F ¶6.)

         b) DePauw’s Treatment of King During its Investigation Does Not Evidence Gender
            Bias.

         Captain Charlene Shrewsbury conducted the investigation. She asked both King and J.B.

  to give a statement and gave them each the opportunity to identify potential witnesses. (Ex. F

  ¶¶6-7.) King complains that he was treated like a criminal. King was treated as any responding

  student is treated when the complaint raises the possibility of criminal charges.        Because

  DePauw has an agreement with the Putnam County Prosecutor that it will forward for review the

  results of its investigations of sexual misconduct, DePauw officers always issue a Miranda

  warning to individuals who are the subject of an investigation regardless of gender. (Ex. F ¶6.)

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  Captain Shrewsbury followed this protocol in beginning her interview of King. (Id.) J.B. was

  not read Miranda rights because King consented to the sexual contact, and J.B. was not the

  subject of the investigation. (Ex. M at 101, Ex. J.) This does not reflect gender bias—it reflects

  the fact that King never suggested J.B.’s conduct violated DePauw’s Policy or might lead to a

  criminal investigation.

          c) DePauw’s Investigation Was Thorough; King’s Intoxication Was Not an Issue.

          King has argued that DePauw’s investigation should have been broader—including

  interviews of as many as thirty students who were present at the party in the basement of the Delt

  house. (Ex. O at 5.) However, this scattershot approach to an investigation of a student complaint

  would not be an efficient use of limited resources and would be particularly inappropriate in this

  instance, where privacy concerns of both King and J.B. are heightened. See, e.g., Gorman v.

  Univ. of R.I., 837 F.2d 7, 14-15 (1st Cir. 1988) (requiring the interest in fairness of disciplinary

  procedures be balanced against the proper allocation of limited resources). This argument is not

  well taken where King himself declined to participate in the investigation. (Ex. F ¶¶6-7.) King

  terminated the interview and did not identify any witnesses that could or should be interviewed

  by Captain Shrewsbury.10 (Ex. F ¶7.) Again, this conduct does not indicate gender bias.

          King argues that his level of intoxication was relevant, and the failure to investigate it

  was gender based. Not so. King did not file a complaint against J.B., and at no point has King

  suggested that he did not consent to the sexual contact.            (Ex. M at 101.)     The reason to

  investigate intoxication is to determine capacity to consent. The text messages sent to J.B. by

  King show that he consented to the encounter. (Ex. J.) At the hearing before this Court, King

  maintained that position. (Ex. M at 198.) In light of this, the argument that his level of

  10
    It was not until after Captain Shrewsbury completed her investigation that King identified a witness to
  the Panel. (Ex. F at ¶7.) This witness, Gates Weaver, was permitted to testify at the hearing. (Ex. N.)

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  intoxication was relevant completely ignores the situation presented.       The decision to not

  evaluate King’s level of intoxication was not gender-based; it was based on King’s undisputed

  consent.

         King’s argument that consent was imputed to him due to his gender has already been

  rejected by the Sixth Circuit in a very similar situation. In Mallory, 76 Fed. Appx. 634, a male

  student, Mallory, was found to have violated the code of conduct for sexual contact with a

  female student. Id. at 636-37. Mallory was intoxicated, the female student had no memory, and

  witness testimony confirmed that she was more intoxicated than Mallory. Id. at 636-37. Like

  King, Mallory testified that the female made sexual advances. Id. at 636. The panel found that

  Mallory violated the code of conduct stated that “the victim’s judgment was so impaired that she

  would not have been capable of making rational decisions about her welfare; as such she could

  not have given consent to engage in sexual intercourse with the accused student.” Id. at 637.

  Mallory was expelled. Id.

         Mallory filed a Title IX claim. The university prevailed on its motion for summary

  judgment because “Mallory had not demonstrated a genuine issue of material fact with regard to

  whether the University’s actions were motivated by Mallory’s sex.” Id. at 637-38. On appeal,

  Mallory argued that “the only evidence at the disciplinary hearing regarding whether [the female

  student] ‘wanted’ to have sex was Mallory’s written statement indicat[ing] that [the female

  student] initiated the sexual encounter.” Id. at 639. Thus, Mallory argued that the female student

  “was not sexually assaulted inasmuch as she initiated or ‘wanted’ the sexual activity.” Id.

  Mallory argued that the university’s focus on the female student’s ability to consent, but not his

  own, “reveals that the University holds an antiquated notion that ‘men are sexual aggressors and

  women are victims.’”        Id.   The Sixth Circuit rejected this argument holding that “the



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  University’s decision to focus on the ability to consent merely demonstrates the University’s

  policy decision to punish those who engage in sexual conduct with another person when the

  first person is aware of the other’s inability to consent.” Id. (emphasis added).

          As in Mallory, DePauw’s Policy prohibits sexual contact with someone who is unable to

  give consent by reason of incapacitation. (Ex. A at 37 (“To engage in sexual activity with a

  person one knows or should know is incapacitated is a violation of this policy”).)11 The hearing

  Panel “saw this case as a question of whether or not [J.B.] had given or was in a state to give

  consent, and should Ben have known if she was in a state to not give consent.” (Ex. P.) The

  Panel found that “it should have been apparent to Ben that [J.B.] was extremely intoxicated, to

  the point that she could not give consent to any sexual activity.” (Id.) The fact that the Panel’s

  finding of responsibility rests on the complaining student’s capacity to consent is consistent with

  DePauw’s Policy and does not indicate gender bias.

  2.      Complaints about the Panel do not Demonstrate Bias. DePauw’s Panel is entitled to a
          Presumption of Integrity.

          King’s vague assertions that the Panel was motivated by gender bias are unsupported.

  The panel members are entitled to a “presumption of honesty and integrity unless actual bias,

  such as personal animosity, illegal prejudice, or a personal or financial stake in the outcome can

  be proven.” Ikpeazu v. Univ. of Ne., 775 F.2d 250, 254 (8th Cir. 1985) (citing Hortonville Joint

  Sch. Dist. No. 1 v. Hortonville Educ. Ass’n., 426 U.S. 482, 497 (1976)); see also Gorman, 837

  F.2d at 15 (“alleged prejudice of university hearing bodies must be based on more than mere

  speculation and tenuous inferences”).         King’s complaint is that he was found responsible;

  without specific evidence of gender bias, King’s erroneous outcome argument fails. Here, the

  11
    DePauw’s policy that incapacitated individuals are not capable of giving consent is consistent with
  Indiana law. See, e.g., Ind. Code § 35-42-4-1 (criminalizing as “rape” sexual intercourse or other sexual
  conduct with another person who is mentally unable to give consent).

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  Panel was comprised of experienced administrative staff members, and the make-up of the Panel

  does not indicate any gender bias; it reflects the fact that the panel’s composition was consistent

  with DePauw’s Policy. (Ex. A at 38.)

         a) Relationships Among Student Life Staff Do Not Evidence Gender Bias.

         King’s complaint that the hearing Panel members work closely with each other and have

  personal relationships with other student life employees who participated in the process reflects a

  small campus environment; it does not indicate gender bias. “In a university setting, prior

  contact among the faculty and students is likely” and does not indicate bias or partiality. Holert

  v. Univ. of Chi., 751 F. Supp. 1294, 1301 (N.D. Ill. 1990). Without specific evidence that the

  Panel members were motivated by bias, it is immaterial that they had prior contact and

  relationships outside of the hearing process.

         b) The Panel Had to Weigh Conflicting Evidence and Make Credibility Determinations.

         King argues that the hearing Panel did not credit his version of the events, but the fact

  that the hearing Panel ultimately found some witnesses’ testimony to be more credible than

  others does not meet the burden to demonstrate that the entire outcome was flawed due to gender

  bias. The Panel had previously reviewed the witness statements and interviews, and asked

  questions to resolve contradictions and gaps it perceived in the evidence.        (Ex. N.) After

  discounting King’s testimony due to credibility issues, the Panel was not left with a vacuum of

  information about J.B.’s demonstration of her capacity to consent. The Panel credited the

  testimony of witnesses who gave detailed descriptions of J.B.’s physical manifestations of

  extreme intoxication, and reasonably concluded that King should have known that J.B. was

  incapable of consenting to sexual activity. (Ex. P.) This approach is reasonable and consistent

  with DePauw’s hearing process, and it does not indicate gender bias. The Panel’s resolution of



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  conflicting testimony is simply evidence that the hearing Panel did its job, especially where, as

  here, King’s own testimony and statements varied throughout the investigation and hearing

  process. The Panel did not exclude any testimony King wished to introduce at the hearing.

  (Exs. N & Q.) King, like J.B., was permitted to ask questions during the hearing to elicit

  additional testimony for the Panel’s consideration but he declined to ask a single question. (Id.)

  There was no gender bias where both King and J.B. were subject to the same hearing procedures

  and the Panel relied on live testimony and written witness statements to reach conclusions as to

  whether King should have known that J.B. was incapable of consenting to sexual activity.

         c) King Was Subject to the Same Procedure as J.B. During the Hearing.

         [King complains about his advisor.        The evidence is that he ignored DePauw’s

  suggestions and selected his own advisor at the last minute. King rejected DePauw’s two

  suggestions for advisors, one of whom was a trained member of the Sexual Misconduct Board

  not empaneled in King’s case. (Ex. B ¶15, Ex. M at 209-10, 136, Ex. K at 125-26.) Instead, his

  father chose his advisor, and King did not even talk to either of the potential advisors suggested

  by DePauw. (Ex. M at 210.)] Neither King nor J.B. was permitted to have an attorney present in

  the hearing room. (Ex. A at 38-39; Ex. B ¶15.) This procedure is a valid attempt to avoid

  “undue judicialization” of the hearing. Gorman, 837 F.2d at 14-15. Moreover, this procedure is

  not gender-biased, as it applies to all students participating in sexual misconduct hearings

  regardless of gender. (Ex. A at 38-39.)

  3.     DePauw’s Policy Does Not Permit King to Submit an Impact Statement and He Was Not
         Prejudiced by This Policy.

         King’s argument that he was denied an opportunity to present an impact statement raises

  no real issue. While there was a typo in the instructions which existed regardless of King’s

  gender, he had no statement prepared that he was not permitted to give. (Ex. M at 73.) Allowing


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  the complainant to submit an impact statement after a finding of responsibility reflects Title IX’s

  directive that a hostile environment analysis should be done from the victim’s position. Office of

  Civil    Rights,    Dear     Colleague     Letter,    Apr.    4,    2011     p.4    available    at

  http://www.whitehouse.gov/sites/default/files/dear_colleague_sexual_violence.pdf;       Office   of

  Civil Rights, Questions and Answers on Title IX and Sexual Violence, Apr. 29, 2014 pp. 1-3,

  available at http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf. The impact

  statement is not a vehicle for additional testimony, but rather informs the Panel members as to an

  appropriate sanction that, upon a finding of responsibility, will restore the complainant’s sense of

  safety on campus. (Ex. A at 39.) Title IX does not require similar considerations be made for a

  student found responsible for sexual misconduct. See Office of Civil Rights, Questions and

  Answers, at 1-3. This minor inconsistency cannot be linked to any evidence of gender bias

  operating against King.

  B.      Deliberate Indifference.

          The deliberate indifference standard traditionally applies to claims of sexual harassment

  and requires the King to “produce evidence that [the defendant] was deliberately indifferent to

  sexual harassment that was so severe or pervasive that it altered the conditions of [King’s]

  education.” Hendrichsen v. Ball State Univ., 107 Fed. Appx. 680, 684 (7th Cir. 2004). See also

  Mallory, 76 Fed. Appx. at 638. To prevail on a deliberate indifference claim, King must prove

  “that an official of the institution who had authority to institute corrective measures had actual

  notice of, and was deliberately indifferent to, the misconduct.” Doe v. Univ. of the South, 687 F.

  Supp. 2d 744, 757 (E.D. Tenn. 2009). Where the University has no knowledge of alleged

  discrimination, it cannot be said to have intentionally discriminated.” Smith v. Metro. Sch. Dist.

  Perry Twp., 128 F.3d 1014, 1034 (7th Cir. 1997). “[D]eliberate indifference is more than



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  negligence and approaches intentional wrongdoing.” Milligan v. Bd. of Trustees of Southern Ill.

  Univ., 686 F.3d 378, 388 (7th Cir. 2012) (noting that “deliberate indifference is a more exacting

  standard than the negligence standard governing employer liability under Title VII”).

         Claims under the deliberate indifference standard in the Seventh Circuit have been

  limited to an analysis of liability for an institution that permits a hostile environment to continue.

  See, e.g., Milligan, 686 F.3d at 387-88 (upholding summary judgment in favor of university

  because school’s response to report of sexual harassment was reasonable); Hendrichsen v. Ball

  State Univ., 107 Fed. Appx. 680, 684 (7th Cir. 2004) (holding that school was not deliberately

  indifferent to sexual harassment where it promptly responded to the harassment). King’s claim

  does not fit within this framework. Indeed, deliberate indifference is the claim that DePauw

  could be exposed to from complainants that it failed to investigate charges of sexual misconduct

  and sexual harassment. See, e.g., Ha v. Northwestern Univ., No. 1:14-cv-00895 (N.D. Ill. filed

  Feb. 21, 2014) (alleging violation of Title IX for failure to adequately respond to sexual

  harassment and assault by a professor); Luby v. Univ. of Conn., No. 3:13-cv-01605-MPS (D.

  Conn. filed Feb. 10, 2014) (five separate plaintiffs alleging Title IX violations including being

  discouraged from reporting rape, hostile environment due to a professor’s publication of victim

  identities, and deliberate indifference).

         The deliberate indifference framework has been rejected for claims challenging

  disciplinary proceedings. Doe v. Univ. of the South, 687 F. Supp. 2d 744, 757-58 (E.D. Tenn.

  2009). In Doe, despite the plaintiff’s allegations that the school’s disciplinary proceedings were

  gender-biased and allegations that the school failed to remedy these issues, the Eastern District

  of Tennessee dismissed the plaintiff’s claim because he had failed to allege that the university’s

  actions were motivated by the plaintiff’s gender or “constituted gender harassment or sexual



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  harassment.”    Id. at 758.     A deliberate indifference claim alleging biased disciplinary

  proceedings survived a motion to dismiss in Wells v. Xavier University, 2014 U.S. Dist. LEXIS

  31936, 14 (S.D. Oh. 2014). There, the Southern District of Ohio held that Wells had properly

  stated a claim for deliberate indifference and considered that the “alleged defective hearing” was

  the misconduct that the defendant university failed to correct. Id.

          In this case, even if this Court permitted a deliberate indifference claim based on an

  allegedly defective investigation or hearing, there are no factual issues regarding DePauw’s

  process, and King has not demonstrated gender bias. Further, DePauw’s statistical record of the

  outcomes of its sexual misconduct process in recent years reflects an even-handed approach.

  (Ex. B ¶19.) Babington clearly did not ignore the investigation or the hearing process when

  reviewing King’s appeal; she re-examined the evidence heard by the Panel in detail and

  confirmed that the Panel’s finding of responsibility was supported by the evidence. 12 (Ex. Q at

  2-4.)

          There is no evidence that Babington herself was motivated by gender bias in reaching her

  decision. Her written determination as to the appeal reflects careful and logical consideration of

  each issue raised by King in his appeal. (Ex. Q.) Her decision to reduce King’s sanction

  evidences the fact that she gave independent consideration to the Panel’s determination and did

  not merely rubber-stamp it. (Ex. Q at 4-5.) Because a deliberate indifference claim requires

  proof of more than negligence—proof of something approaching intentional wrongdoing -

  DePauw was not deliberately indifferent where the Vice President for Student Life re-examined




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     King has argued that DePauw’s President, Dr. Brian Casey, also exhibited indifference. However,
  there is no evidence that Dr. Casey would have had any reason to doubt the investigation, hearing
  procedure, or outcome in this matter.

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  the evidence in good faith without being motivated by gender bias. See Milligan, 686 F.3d at

  388.

  III.    The Existence of a Contract Precludes The Promissory Estoppel Claim.13

          A form of contract controls DePauw’s relationship with King. Indiana law is clear: “the

  legal relationship between a student and a university is one of implied contract.” Amaya v.

  Barter, 981 N.E.2d 1235 (Ind. Ct. App. 2013) (citing Neel v. Indiana Univ. Bd. of Trustees, 435

  N.E.2d 607, 610 (Ind. Ct. App. 1982); see also Ross v. Creighton Univ., 957 F.2d 410, 416 (7th

  Cir. 1992); Park v. Ind. Univ. Sch. of Dentistry, 781 F. Supp. 2d 783, 786 (S.D. Ind. 2011)

  (Lawrence, J.). Accordingly, as a matter of law, King cannot state a claim for promissory

  estoppel. “Promissory estoppel or quasi-contractual remedies permit recovery where no contract

  in fact exists.” Ind. BMV v. Ash, Inc., 895 N.E.2d 359, 367 (Ind. Ct. App. 2008) (internal

  quotations omitted) (emphasis added); see also Decatur Ventures, LLC v. Stapleton Ventures,

  Inc., 373 F. Supp. 2d 829, 848-49 (S.D. Ind. 2005) (Tinder, J.). Specifically, King has not

  alleged any promises in his promissory estoppel claim that are not founded on his contract with

  DePauw. Consequently, DePauw should be granted summary judgment on King’s promissory

  estoppel claim because when the promises cited in support of a promissory estoppel claim are

  based on a valid “contract between the parties, then the promissory estoppel claim becomes

  unwarranted surplusage.” Decatur Ventures, LLC, 373 F. Supp. 2d at 848.

          Moreover, even if a promissory estoppel claim was permitted under the circumstances, it

  would not be meritorious on the undisputed facts. In order to prove a claim of promissory

  estoppel, King must show that DePauw made him a promise on which it expected he would rely

  and upon which actually did rely—to his detriment. Weinig v. Weinig, 674 N.E.2d 991, 997

  13
    As discussed at page 34, infra, the Court should retain subject matter jurisdiction over King’s state law
  claims.

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  (Ind. Ct. App. 1996). King testified that before his admission to DePauw he never spoke to

  anyone at DePauw and did not review any materials that DePauw publishes. (Ex. K at 12-13.)

  Consequently, he could not have relied on any statements related to DePauw’s disciplinary

  policies or procedures when he made the decision to attend DePauw. King’s own testimony and

  the undisputed facts preclude King’s promissory estoppel theory and his claim should be

  dismissed.

  IV.    DePauw is Entitled to Summary Judgment on King’s Intentional Infliction of
         Emotional Distress Claim Because the Evidence Shows that DePauw’s Conduct was
         Neither Extreme nor Outrageous.

         “Intentional infliction of emotional distress is committed by ‘one who by extreme and

  outrageous conduct intentionally or recklessly causes severe emotional distress to another.”

  Collins v. Purdue Univ., 703 F. Supp. 2d 862, 871 (N.D. Ind. 2010) (quoting Branham v.

  Celadon Trucking Service, Inc., 744 N.E.2d 514, 522-23 (Ind. Ct. App. 2001)). Broken down to

  its constituent parts:   intentional infliction of emotional distress occurs when a defendant

  (1) engages in extreme and outrageous conduct that (2) intentionally or recklessly (3) causes

  (4) severe emotional distress to another. Id. “In the appropriate case, the issue may be decided

  as a matter of law.” Dietz v. Finlay Fine Jewelry Corp., 754 N.E.2d 958, 970 (Ind. App. 2001).

         A.      DePauw’s Conduct was not Extreme and Outrageous as a Matter of Law.

         DePauw’s conduct – following its stated process for handling accusations of sexual

  misconduct – as a matter of law is not extreme and outrageous.            Defining extreme and

  outrageous conduct depends on the prevailing cultural norms and values. Bradley v. Hall, 720

  N.E.2d 747, 752-53 (Ind. App. 1999). In cases where a defendant is found liable for intentional

  infliction of emotional distress, “the conduct has been so outrageous in character, and so extreme

  in degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and



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  utterly intolerable in a civilized community. Generally, the case is one in which the recitation of

  the facts to an average member of the community would arouse his resentment against the actor,

  and lead him to exclaim, “Outrageous!” Creel v. I.C.E. & Assocs., 771 N.E.2d 1276, 1282 (Ind.

  Ct. App. 2002) (quoting Restatement (Second) of Torts § 46 cmt. d (1965)); see also Branham,

  744 N.E.2d at 523 (same); Bradley, 720 N.E.2d at 752-53 (same); Gable v. Curtis, 673 N.E.2d

  805, 809-10 (Ind. Ct. App. 1996) (same). DePauw’s conduct in this case does not approach

  anything close to that level.

         In Conwell v. Beatty, a deputy with the Howard County Sheriff’s department was arrested

  for theft and official misconduct. In affecting the arrest, the sheriff sent seven officers to the

  deputy sheriff’s home to execute a search warrant and arrest the deputy. Conwell v. Beatty, 667

  N.E.2d 768, 773 (Ind. Ct. App. 1996). After the arrest, the Sheriff called an “'impromptu' press

  conference” where he “told the press that [the deputy sheriff] had been arrested pursuant to

  warrants for theft and official misconduct.” Id. The Sheriff further told the press the “details

  provided to the court in support of the arrest and search warrants” as well as information relating

  to a past incident. Id. The deputy sheriff was eventually found not guilty and sued the sheriff for

  intentional infliction of emotional distress. Id. at 775. The court held that as a matter of law, the

  sheriff’s conduct was not extreme and outrageous. Id. at 777. Indeed, the fact that the sheriff

  may have been “more zealous in executing the warrants than the circumstances required does not

  render his conduct beyond all possible bounds of decency.” Id. Here DePauw followed its

  policy for dealing with allegations of sexual misconduct. The fact that King does not like that he

  was accused of sexual misconduct, or that he has to be exposed to the well-documented system

  that DePauw has set up to deal with such allegations does not render DePauw’s conduct either




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  extreme or outrageous and King’s claim for intentional infliction of emotional distress must fail

  for this reason alone.

         B.      There is no Evidence that DePauw Intended to Cause King Emotional
                 Distress.

         Moreover, there is no evidence suggesting that DePauw intended to cause King

  emotional distress. “It is the intent to harm one emotionally that constitutes the basis for the tort

  of an intentional infliction of emotional distress.” Cullison v. Medley, 570 N.E.2d 27, 31 (Ind.

  1991). The case at hand is similar to Collins v. Purdue University. 703 F. Supp. 2d 862 (N.D.

  Ind. 2010). In Collins, the plaintiff was the subject of a newspaper story suggesting that he was

  somehow connected with the disappearance of a student. Id. at 867-68. On a motion for

  judgment on the pleadings, the court concluded that because the defendant newspaper

  publisher’s “conduct was consistent with the practice of any newspaper reporting local police

  activities and reporting the details of [the student’s] disappearance,” the requisite intent to cause

  emotional distress was not present and, consequently, plaintiff could not state a claim for

  intentional infliction of emotional distress. Id. at 873-74.

         Just as the newspaper publisher was merely following its standard operating procedure,

  DePauw was following its standard procedure in handling the allegations against King. As

  discussed in detail above, DePauw has a written policy for the disposition of allegations of

  sexual misconduct, and it followed that policy in this instance. Adherence to such a policy in

  every situation where there is an accusation of sexual misconduct is necessary for DePauw to

  comply with the strictures of federal law and to ensure the safety of its student population. See

  Davis v. Monroe County Bd. Educ., 526 U.S. 629 (1999) (concluding that where an educational

  institution receiving federal funding is deliberately indifferent to “student-on-student” sexual

  harassment a private cause of action exists). There simply is no evidence that through its

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  conduct in acting on its standard policy, DePauw possessed any intent to cause King emotional

  distress. As a result, King’s intentional infliction of emotional distress claim fails as a matter of

  law. See Watters v. Dinn, 666 N.E.2d 433, 438 (Ind. Ct. App. 1996) (finding that a legitimate

  motive for the alleged intentional acts “belies [plaintiff’s] assertion that [defendant] acted with

  the sole intent to harm him,” and therefore affirming the trial court’s grant of summary judgment

  on an intentional infliction of emotional distress claim).

  V.     DePauw Is Entitled to Summary Judgment on King’s Claim for Defamation; It Is
         Not Properly Pled, and Any Communications Were Privileged.

         A.      King Has Not Properly Pled Defamation.

         As a threshold matter, King’s defamation claim is subject to dismissal under Federal Rule

  of Civil Procedure 12(b)(6) because it is not pled with particularity as required by Trail v. Boys

  and Girls Clubs, 845 N.E.2d 130, 136 (Ind. 2006) (requiring a plaintiff to “set out the operative

  facts of the claim” for defamation, including the “alleged defamatory statement in the

  complaint.”). “Even under the notice pleading standard, a plaintiff is still required to set out the

  operative facts of the claim, including the alleged defamatory statements, in the complaint.”

  Cowgill v. Whitewater Publ’g., 2008 U.S. Dist. LEXIS 42235, *3 (S.D. Ind. May 29, 2008)

  (dismissing a defamation claim where the allegations in the complaint “lack[ed] any reference to

  the number of statements made, to whom the statements were made, or when and in what context

  they were made.”). See also, Haegert v. McMullan, 953 N.E.2d 1223, 1230 (Ind. Ct. App. 2011)

  (affirming summary judgment in favor of defendant where King failed to specifically identify the

  allegedly false statements in her complaint).

         King’s Complaint alleges only that “DePauw employees and representatives have

  maliciously made statements indicating that King has committed criminal conduct and/or sexual

  misconduct.” [Dkt. 1 at ¶106] The Complaint wholly fails to identify the statements allegedly

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  made, to whom the statements were made, and the context in which they were made. The broad

  generalization in the Complaint does not constitute actionable defamation; therefore, King’s

  claim for defamation should be dismissed pursuant to Federal Rule of Civil Procedure 12(B)(6).

         B.      Statements by DePauw Employees About King’s Conduct Are Privileged.

         Notwithstanding King’s failure to properly plead a claim for defamation, the defamation

  claim fails because any communications among DePauw’s staff about King regarding the alleged

  sexual misconduct allegations are privileged. The privilege acts as a complete defense to a

  defamation action and applies to “communications made in good faith on any subject matter in

  which the party making the communication has an interest or in reference to which he has a duty,

  either public or private, either legal, moral, or social, if made to a person having a corresponding

  interest or duty.” Bals v. Verduzco, 600 N.E.2d 1353, 1356 (Ind. 1992). Whether the privilege

  applies to a given statement is a question of law, making it particularly well-suited for summary

  judgment. Kelley v. Tanoos, 865 N.E.2d 593, 597 (Ind. 2007).

         DePauw’s statements are privileged in two respects. Id. The first is the common interest

  privilege, “intended to facilitate full and unrestricted communication on matters in which the

  parties have a common interest or duty.” Id. at 598. The common interest privilege has been

  applied to a school’s communication to students’ parents about the termination of a school

  employee because “[p]arents and schools have a ‘corresponding interest’ in the free flow of

  information about administrators and faculty members.” Id. (citing Gatto v. St. Richard School,

  Inc., 774 N.E.2d 914, 925 (Ind. Ct. App. 2002)). Application of the common interest privilege in

  the Gatto decision rested on a “joint interest in the welfare of particularized children.” Kelley at

  599. The second is the public interest privilege, which protects communications made to police

  officers “during the course of a legitimate law enforcement investigation.”            Id. at 600.



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  Statements to private citizens are also privileged to the extent that they enhance the public safety

  by “facilitating the investigation of suspected criminal activity.” Id. at 597.

            Although King’s Complaint does not identify a single defamatory statement,

  communications by DePauw employees regarding the allegations and in furtherance of the

  investigation and hearing were undoubtedly regarding the safety of DePauw’s campus and the

  enforcement of DePauw’s student Code of Conduct. The employees share a common interest in

  the safety of DePauw students, including the complainant in this matter, J.B. See, e.g., Conwell

  v. Beatty, 667 N.E.2d 768, 779 (Ind. Ct. App. 1996) (statements between employees while

  investigating a shoplifting incident are protected by the qualified privilege doctrine).

            Second, to the extent that the unidentified statements were allegedly made by DePauw

  employees as part of an investigation of suspected criminal activity by Captain Shrewsbury, a

  sworn police officer, they may also be subject to the public interest privilege. Kelley, 865

  N.E.2d at 600 (“it is well established that in Indiana, communications made to law enforcement

  to report criminal activity are qualifiedly privileged”).

            Finally, to the extent King is attempting to complain that DePauw employees made

  statements communicating the outcome of the hearing or appeal process, such statements were

  made under a duty to report the outcome of the hearing to the complainant, in accordance with

  the Federal Educational Rights and Privacy Act and DePauw’s Sexual Misconduct Policy (Ex. A

  at 40.)     See 34 C.F.R. 99.33(c).     Because statements made by DePauw’s employees and

  representatives about King’s conduct are privileged, summary judgment should be granted in

  favor of DePauw on King’s defamation claim.

  VI.       The Court Should Retain Jurisdiction Over King’s State Law Claims.

            If the Court grants judgment in favor of DePauw on the Title IX claims, the Court should

  retain jurisdiction because the Court and the parties have invested substantial efforts in litigating
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  all of King’s claims.    Although 42 U.S.C. § 1367(c) permits a district court to relinquish

  jurisdiction over supplemental state law claims if it disposes of all the claims over which it has

  original jurisdiction by pre-trial motion, it does not require that a district court do so. To the

  contrary, the law of this circuit is “clear” that a district court does not automatically lose

  supplemental subject matter jurisdiction once it grants summary judgment on the federal claims

  in a case. Groce v. Eli Lilly & Co., 193 F.3d 496, 500 & n.6 (7th Cir. 1999). In deciding

  whether to retain jurisdiction over the state law claims at issue here, the Court “should consider

  and weigh . . . the values of judicial economy, convenience, fairness, and comity.” City of Chi.

  v. Int’l Coll. of Surgeons, 522 U.S. 156, 173 (1999). “That the jurisdictional hook is eliminated

  before trial at best only preliminarily informs the balance; the nature of the state law claims at

  issue, their ease of resolution, and the actual, and avoidable, expenditure of judicial resources can

  and should make the difference in a particular case.” Timm v. Mead Corp., 32 F.3d 273, 277 (7th

  Cir. 1994). If the “arguable balance” of these factors favors the retention of jurisdiction over the

  remaining state law claims, it is “entirely acceptable” for the Court to exercise its discretion and

  decide the remaining claims. Id.

         Here, all of these factors cut in favor of the Court’s retention of jurisdiction over any

  remaining state law claims. Indeed, the parties and the Court have invested significant resources

  into this litigation already. The parties have fully briefed two motions for preliminary injunction

  and the Court held a day-long evidentiary hearing on the second motion. The Court issued a

  twenty-seven page order on preliminary injunction. [Dkt. 60] Moreover, the remaining state law




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  claims are straightforward and the subject of a substantial amount of precedent.14 Dismissing the

  state law claims at this late juncture would leave the parties to start over again in state court, and

  would require the state court to duplicate much of the work that has already been done by this

  Court. In addition to the simple fact that the Court has already become familiar with the facts

  and parties in this suit, federal law forms an important part of the backdrop of the standard

  against which DePauw’s execution of its policies and procedures should be judged, even if the

  federal claims are dismissed. Consequently, DePauw submits that the even after dismissing

  King’s Title IX claims, the Court can and should deny King’s promissory estoppel, intentional

  infliction of emotional distress, and defamation claims on summary judgment as a matter of law,

  and then retain jurisdiction over the remaining state law claims through trial.

                                               CONCLUSION

          For the foregoing reasons, Defendant, DePauw University respectfully requests that

  summary judgment be entered in its favor and against Plaintiff, Benjamin King, on all counts of

  King’s Complaint.




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     Although King may try to frame his negligence claim as one for “educational malpractice,” no Indiana
  appellate court has ever recognized such a claim. Norris v. Bd. of Educ. of Greenwood Cmmt’y Sch.
  Corp., 797 F. Supp. 1452, 1463 (S.D. Ind. 1992) (Tinder, J.) (noting that no Indiana court has recognized
  “educational malpractice” as a cause of action); Brown v. Metro Sch. Dist. of Lawrence Twp., 945 F.
  Supp. 1202, 1209 (S.D. Ind. 1996) (same). No reported case in Indiana has addressed the theory of
  “educational malpractice,” and Federal courts in Indiana have declined to recognize “educational
  malpractice” as a tort under Indiana law because it is a “policy decision that [the Southern District of
  Indiana] is not able to make.” Norris, 797 F. Supp. at 1463; see also Brown, 945 F. Supp. at 1209.
  Consequently, as a matter of law, King cannot rest his negligence claim on a theory of educational
  malpractice. Nor can King proceed on a theory of negligence per se, as he cannot prove that DePauw has
  violated any statute. See Erwin v. Roe, 928 N.E. 609, 620 (Ind. Ct. App. 2010). See also Moore v.
  Hamilton Southeastern Sch. Dist., 2013 U.S. Dist. LEXIS 123507, *31-33 (S.D. Ind. 2013) (Barker, J.)
  (noting that in order to succeed on a negligence per se claim, the plaintiff must prove violation of a statute
  in addition to showing the applicability of that statute to the plaintiff’s case).



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                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I certify that on November 3, 2014, a copy of the foregoing document was filed
  electronically. Notice of this filing will be sent to the following parties by operation of the
  Court’s electronic filing system. Parties may access this filing through the Court’s system:

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